Case 2:15-cr-00118-WFN   ECF No. 89   filed 11/17/16   PageID.329 Page 1 of 7


                                                                             FILED IN THE
                                                                         U.S. DISTRICT COURT
                                                                   EASTERN DISTRICT OF WASHINGTON



                                                                        11/17/16
                                                                        SEAN F. MCAVOY, CLERK
Case 2:15-cr-00118-WFN   ECF No. 89   filed 11/17/16   PageID.330 Page 2 of 7
Case 2:15-cr-00118-WFN   ECF No. 89   filed 11/17/16   PageID.331 Page 3 of 7
Case 2:15-cr-00118-WFN   ECF No. 89   filed 11/17/16   PageID.332 Page 4 of 7
Case 2:15-cr-00118-WFN   ECF No. 89   filed 11/17/16   PageID.333 Page 5 of 7
Case 2:15-cr-00118-WFN   ECF No. 89   filed 11/17/16   PageID.334 Page 6 of 7
Case 2:15-cr-00118-WFN   ECF No. 89   filed 11/17/16   PageID.335 Page 7 of 7
